                      Case 23-90758 Document 1 Filed in TXSB on 07/27/23 Page 1 of 14
Debtor       AVR AH LLC                                                                  Case number (if known)
           Name




Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                     ☐Check if this is an
Case number (if known):                                         Chapter      11                                                          amended filing



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
      and the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
      Individuals, is available.



1.   Debtor’s Name                    AVR AH LLC



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)        XX-XXXXXXX


4. Debtor’s address                   Principal place of business                                       Mailing address, if different from principal place
                                                                                                        of business
                                      514 E. Hyman Avenue                                               PO Box 4068
                                       Number                Street                                     Number         Street




                                       Aspen, CO 81611                                                  Aspen, CO 81612
                                       City                                 State     Zip Code          City                         State     Zip Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                       Pitkin                                                           140 Aspen Valley Ranch Rd.
                                       County                                                           Number         Street




                                                                                                        Woody Creek, CO 81656
                                                                                                        City                         State     Zip Code




5. Debtor’s website (URL)              https://www.avrresidences.com/

6.   Type of debtor                       ☒Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐Partnership (excluding LLP)

                                          ☐Other. Specify:




     Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                      page 1
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Debtor        AVR AH LLC                                                         Case number (if known)
            Name



                                         A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☒ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☐ None of the above

                                         B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5313

8. Under which chapter of the            Check One:
   Bankruptcy Code is the                ☐ Chapter 7
   debtor filing?
                                         ☐ Chapter 9

                                         ☒ Chapter 11. Check all that apply:
A debtor who is a “small business
debtor” must check the first sub-                  ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
box. A debtor as defined in §                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
1182(1) who elects to proceed                        $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
under subchapter V of chapter 11                     operations, cash-flow statement, and federal income tax return or if any of these documents do
(whether or not the debtor is a                      not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
“small business debtor”) must
check the second sub-box.                            ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses
                                                       to proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most
                                                       recent balance sheet, statement of operations, cash-flow statement, and federal income tax
                                                       return, or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                    ☐ A plan is being filed with this petition.

                                                    ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                      creditors, in accordance with 11 U.S.C. § 1126(b).
                                                    ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                      Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                      the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under
                                                      Chapter 11 (Official Form 201A) with this form.
                                                    ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                          ☐ Chapter 12
9. Were prior bankruptcy cases         ☒ No
   filed by or against the debtor      ☐ Yes    District                          When                       Case number
   within the last 8 years?                                                                 MM/DD/YYYY
     If more than 2 cases, attach a             District                          When                       Case number
     separate list.                                                                         MM/DD/YYYY

10. Are any bankruptcy cases           ☐ No
    pending or being filed by a        ☒ Yes                                                                 Relationship     Affiliate
                                                Debtor     Strudel Holdings LLC
    business partner or an
    affiliate of the debtor?                    District   Southern District of Texas
     List all cases. If more than 1,                                                                         When:            07/27/2023
     attach a separate list.                    Case number, if known _______________________                                 MM / DD / YYYY


     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
                    Case 23-90758 Document 1 Filed in TXSB on 07/27/23 Page 3 of 14
Debtor     AVR AH LLC                                                              Case number (if known)
          Name



11. Why is the case filed in this     Check all that apply:
    district?
                                           ☐ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                           district.
                                           ☒ A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have         ☒ No
    possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal
    property that needs                         Why does the property need immediate attention? (Check all that apply.)
    immediate attention?
                                                ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                     safety.
                                                     What is the hazard?

                                                ☐    It needs to be physically secured or protected from the weather.

                                                ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).
                                                ☐    Other


                                                Where is the property?
                                                                                    Number          Street



                                                                                    City                                  State       Zip Code



                                                Is the property insured?
                                                  ☐ No

                                                  ☐ Yes. Insurance agency

                                                           Contact name
                                                           Phone




                       Statistical and administrative information

13. Debtor's estimation of           Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of                    ☒1-49                            ☐1,000-5,000                            ☐25,001-50,000
    creditors                              ☐50-99                           ☐5,001-10,000                           ☐50,001-100,000
                                           ☐100-199                         ☐10,001-25,000                          ☐More than 100,000
                                           ☐200-999



15. Estimated assets                       ☐$0-$50,000                      ☐$1,000,001-$10 million                 ☐$500,000,001-$1 billion
                                           ☐$50,001-$100,000                ☐$10,000,001-$50 million                ☐$1,000,000,001-$10 billion
                                           ☐$100,001-$500,000               ☐$50,000,001-$100 million               ☐$10,000,000,001-$50 billion
                                           ☐$500,001-$1 million             ☒$100,000,001-$500 million              ☐More than $50 billion




   Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 3
                    Case 23-90758 Document 1 Filed in TXSB on 07/27/23 Page 4 of 14
Debtor     AVR AH LLC                                                               Case number (if known)
          Name



16. Estimated liabilities                  ☐$0-$50,000                       ☐$1,000,001-$10 million                   ☐$500,000,001-$1 billion
                                           ☐$50,001-$100,000                 ☐$10,000,001-$50 million                  ☐$1,000,000,001-$10 billion
                                           ☐$100,001-$500,000                ☐$50,000,001-$100 million                 ☐$10,000,000,001-$50 billion
                                           ☐$500,001-$1 million              ☒$100,000,001-$500 million                ☐More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of            petition.
    debtor
                                           I have been authorized to file this petition on behalf of the debtor.
                                           I have examined the information in this petition and have a reasonable belief that the information is true
                                            and correct.

                                         I declare under penalty of perjury that the foregoing is true and correct.

                                     Executed on           07/27/2023
                                                            MM/ DD / YYYY


                                            /s/ Douglas Brickley                                         Douglas Brickley
                                            Signature of authorized representative of debtor              Printed name

                                            Title   Chief Restructuring Officer




18. Signature of attorney                   /s/ Joshua W. Wolfshohl                                      Date         07/27/2023
                                            Signature of attorney for debtor                                          MM/DD/YYYY



                                            Joshua W. Wolfshohl

                                            Porter Hedges LLP
                                            Firm name
                                            1000 Main St., 36th Floor
                                            Number                  Street
                                            Houston                                                                 TX              77002
                                            City                                                                    State             ZIP Code
                                            713-226-6000                                                            jwolfshohl@porterhedges.com
                                            Contact phone                                                                Email address
                                            24038592                                             TX
                                            Bar number                                          State




   Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 4
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                              )
    In re:                                                    )     Chapter 11
                                                              )
    AVR AH LLC,                                               )     Case No. 23-___________(___)
                                                              )
                                                              )
                             Debtor.                          )
                                                              )

                              LIST OF EQUITY SECURITY HOLDERS1


             Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the above-

captioned debtor and debtor in possession (the “Debtor”) respectfully represents that the following

is the list of holders of the Debtor’s sole class of equity or membership interests:

             ☐ There are no equity security holders or corporations that directly or indirectly own 10%
             or more of any class of the Debtor’s equity interest.

             ☒ The following are the Debtor’s equity security holders (list holders of each class,
             showing the number and kind of interests registered in the name of each holder, and the
             last known address or place of business of each holder):
     Name and Last Known Address of Place of              Kind/Class of Interest               Percentage of Interests Held
               Business of Holder
                CHARIF SOUKI
               514 E. Hyman Ave.
                                                            Membership Units                              100%
                Aspen, CO 81611




1
 This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure. All equity positions listed are as of the date of commencement of the Chapter 11 Cases.



       Official Form 201        Voluntary Petition for Non-Individuals Filing for Bankruptcy                          page 5
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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

                                                )
 In re:                                         )   Chapter 11
                                                )
 AVR AH LLC,                                    )   Case No. 23-___________(___)
                                                )
                                                )
                       Debtor.                  )
                                                )

                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, no
corporation directly or indirectly own 10% or more of any class of the debtor’s equity interest.
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    Fill in this information to identify the case:
    Debtor Name       AVR AH, LLC
    United States Bankruptcy Court for the:
    Southern                          District       Texas
                                      of
                                                     (State)
    Case number (If                                        Chapter     11                                      ☐ Check if this is an
    known):                                                                                                        amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of
    Creditors Who Have the 30 Largest Unsecured Claims and
    Are Not Insiders                                      12/15


    A list of creditors holding the thirty (30) largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case.
    Include claims which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in
    11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from
    inadequate collateral value places the creditor among the holders of the thirty (30) largest unsecured claims.



Name of creditor and                Name, telephone number,          Nature of      Indicate if     Amount of unsecured claim
complete mailing address,           and email address of             the claim      claim is        If the claim is fully unsecured, fill in
including zip code                  creditor contact                 (for           contingent,     only unsecured claim amount. If claim
                                                                     example,       unliquidated,   is partially secured, fill in total claim
                                                                     trade debts,   or disputed     amount and deduction for value of
                                                                     bank loans,                    collateral or setoff to calculate
                                                                     professional                   unsecured claim.
                                                                     services,
                                                                     and                             Total
                                                                     government                     claim,      Deduction
                                                                     contracts)                        if        for value
                                                                                                                                Unsecured
                                                                                                    partiall         of
                                                                                                                                  claim
                                                                                                       y        collateral
                                                                                                    secure       or setoff
                                                                                                       d

1       Ajax Holdings LLC           Will Herndon- Manager,       inter-                                                      $10,412,826.04
        514 E. Hyman Ave.           ph: 970-925-2619;            company
        Aspen CO 81611              will.herndon@ajax-           loan
                                    holdings.com;
                                    514 E. Hyman Ave.
                                    Aspen CO 81611
2       TKCL Loan                                                inter-                                                       $6,566,151.00
                                                                 company
                                                                 loan

3       Aspen Valley Ranch          Simon Chen VP,               vendor/HOA                                                     $768,454.15
        HOA Inc.,                   ph: 970.376.3403;            dues
        P.O. Box 421,               simon@avrresidences.com;
        Woody Creek CO 81656        P.O. Box 421, Woody Creek
                                    CO 81656
4       Pitkin County Treasurer -   ph: 970-920-5170;           property tax                                                      $76,462.05
        530 E. Main St Aspen        treasruer@pitkincounty.com;
        CO 81611                    530 E. Main St, Ste. 201,
                                    Aspen CO 81611
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Name of creditor and            Name, telephone number,        Nature of      Indicate if     Amount of unsecured claim
complete mailing address,       and email address of           the claim      claim is        If the claim is fully unsecured, fill in
including zip code              creditor contact               (for           contingent,     only unsecured claim amount. If claim
                                                               example,       unliquidated,   is partially secured, fill in total claim
                                                               trade debts,   or disputed     amount and deduction for value of
                                                               bank loans,                    collateral or setoff to calculate
                                                               professional                   unsecured claim.
                                                               services,
                                                               and                             Total
                                                               government                     claim,     Deduction
                                                               contracts)                        if       for value
                                                                                                                          Unsecured
                                                                                              partiall        of
                                                                                                                            claim
                                                                                                 y       collateral
                                                                                              secure      or setoff
                                                                                                 d

5    CPS Distributors, Inc -    Corp info ph: 303-394-6040,   vendor                                                        $26,192.19
     Heritage Landscape         credit@heritageLSG.com;
     Supply Grp.                Heritage Landscape Supply
     P.O. Box 841382            Grp.
     Dallas TX 75284            P.O. Box 841382
                                Dallas TX 75284


6    Aspen Valley Downs         Laura Barbieur,               HOA Dues                                                      $21,000.00
     HOA - Woody Creek Co       Reese Henry CPA,
                                ph: 970-429-2502;
                                lbarbieur@reesehenry.com;
                                P.O. Box 145
                                Woody Creek CO 81656
7    Glenwood Veterinary        Alejandro-Admin;              vendor                                                         $3,068.00
     Clinic-2514 Grand Av.      970-945-5401;
     Glenwood Spgs, CO          gvc@glenwoodvet.com;
     81601                      2514 Grand Av.
                                Glenwood Spgs, CO 81601

8    American Express                                         credit card                                                    $6,071.20


9    Holy Cross - Glenwood      ph: 970-945-5491;             utilities                                                      $2,171.84
     Spgs CO                    3799 Highway 82,
                                P.O. Box 2150,
                                Glenwood Spgs CO
                                81602-2150
10   Mountain West Insurance Jess Westley,Agent;              insurance                                                      $1,578.45
     - Glenwood Springs CO ph: (970) 384-8210;
                             jessw@mtnwst.com;
                             201 Centenial St. 4th Floor,
                             Glenwood Spgs CO 81601
11   Crystal River Spas -       970-963-2100;                 vendor                                                         $1,544.62
     1197 Main St.              sales@crystalriverspas.com;
     Carbondale CO 81623        1197 Main St.
                                Carbondale CO 81623
12   L.T. Clear Solutions LLC   Keila Olave, bookkeeper;      vendor                                                         $1,180.00
     - Carbondale CO            ltclearsolutions@gmail.com,
                                P.O.Box 1985,
                                Carbondale CO 81623
13   Black Hills Energy -       Corporate -                   utilities                                                      $1,051.37
     Rapid City SD              ph: 888-890-5554 ;
                                help@support.blackhillsener
                                gy.com;
                                P.O. Box 6001
                                Rapid City SD
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Name of creditor and           Name, telephone number,        Nature of      Indicate if     Amount of unsecured claim
complete mailing address,      and email address of           the claim      claim is        If the claim is fully unsecured, fill in
including zip code             creditor contact               (for           contingent,     only unsecured claim amount. If claim
                                                              example,       unliquidated,   is partially secured, fill in total claim
                                                              trade debts,   or disputed     amount and deduction for value of
                                                              bank loans,                    collateral or setoff to calculate
                                                              professional                   unsecured claim.
                                                              services,
                                                              and                             Total
                                                              government                     claim,     Deduction
                                                              contracts)                        if       for value
                                                                                                                         Unsecured
                                                                                             partiall        of
                                                                                                                           claim
                                                                                                y       collateral
                                                                                             secure      or setoff
                                                                                                d

14   Apex Security - 410 SW    Billing Dept ph: 855-489-     utilities                                                      $1,033.88
     Columbia St., Ste 120,    2638, contact@vyanet.com,
     Bend OR 97702             410 SW Columbia St., Ste.
                               120,
                               Bend OR 97702

15   Comcast Xfinity - 9602 S. ph: 800-934-6489; no email;   utilities                                                        $708.63
     300 W. Ste B, Sandy UT 9602 S. 300 W. Ste. B,
     84070-3302                Sandy UT 84070-3302

16   Coldwell Banker Mason     Wendy Bontempo                vendor                                                           $382.45
     Morse - 0290 Highway      ph: 970-704-3210;
     133, Carbondale CO        wendyb@masonmorse.com;
     81623                     0290 Highway 133,
                               Carbondale CO 81623

17   Aspen Waterwise Ltd-50    Kellen Whitworth, owner; vendor                                                                $235.18
     N. 4th St. Carbondale     bookkeeper:
     CO 81623                  sarah@aspenwaterwise.com
                               50 N. 4th St.
                               Carbondale CO 81623
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    Fill in this information to identify the case and this filing:

   Debtor Name AVR AH LLC

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



            Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule ____
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership
            Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Douglas Brickley
                                       07/27/2023
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Douglas Brickley
                                                                                 Printed name
                                                                                 Chief Restructuring Officer

                                                                                 Position or relationship to debtor




Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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